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                                CERTIFICATE OF SERVICE

       I, Kristin B. Mayhew, hereby certify that a true and accurate copy of the foregoing

Motion for an Order Admitting Carollyn H.G. Callari Pro Hac Vice was filed with the Court on

March 15, 2022. Notice of this filing will be sent by e-mail to all parties by operation of the

court’s electronic filing system. Parties may access this filing through the court’s CM/ECF

System.




                                                   /s/ Kristin B. Mayhew
                                           Kristin B. Mayhew




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